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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

 STATE OF FLORIDA,

       Plaintiff,

       v.                                    Case No. 8:21-cv-839-SDM-AAS

 BECERRA, et al.,

       Defendants.
 _________________________________

                           NOTICE OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i), Florida files this notice of dismissal. The

 challenged Conditional Sailing Order expired on January 15, 2022, the

 government has represented that it will not be renewed and has dismissed its

 appeal, and all parties agree that the case is moot.




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                              Respectfully submitted,

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                              ATTORNEY GENERAL

                              John Guard
                              CHIEF DEPUTY ATTORNEY GENERAL

                              /s/ James H. Percival
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                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 10th day of February, 2022, a true and

 correct copy of the foregoing was filed with the Court’s CM/ECF system, which

 provides notice to all parties.

                                          /s/ James H. Percival
                                          James H. Percival




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